        Case 1:10-cv-01418-WSD Document 23 Filed 07/11/11 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SHELBY HUNT,                           )
                                       )
      Plaintiff,                       )      CIVIL ACTION NO.:
                                       )      1:10-CV-1418-WSD
v.                                     )
                                       )
SYDELL, INC., et al.,                  )
                                       )
      Defendants.                      )

                        STIPULATION OF DISMISSAL

      Per the Court’s Order dated June 9, 2011, Plaintiff’s counsel with verbal

consent of Defendants’ counsel is filing this Stipulation of Dismissal.

      The filing attorney certifies that she has attempted to discuss the filing of

this document with Defendants’ counsel, but has been unsuccessful. However,

Defendants’ counsel has previously consented to the Dismissal verbally.

      Respectfully submitted, this 11th July 2011.
        Case 1:10-cv-01418-WSD Document 23 Filed 07/11/11 Page 2 of 3




/s/ Meredith J. Carter                      /s/ Tanya Andrews Tate
Meredith J. Carter                          (with Verbal Permission)
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the above and foregoing document has been prepared

using the type-volume limitations set forth in Rule 5.1B of the Local Rules of the

Northern District of Georgia, and has been typed in Times New Roman font size

14 point.


                                                  /s/ Meredith J. Carter
                                                  Meredith J. Carter
                                                  Georgia Bar No. 325422




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SHELBY HUNT,                           )
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      Plaintiff,                       )       CIVIL ACTION NO.:
                                       )       1:10-CV-1418-WSD
v.                                     )
                                       )
SYDELL, INC., et al.,                  )
                                       )
      Defendants.                      )

                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day electronically filed the Stipulation of

Dismissal with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to the following attorney of

record:

                         Tanya Andrews Tate
                         ttate@ttatelaw.com


      This 11th day of July, 2011.

                                                           /s/ Meredith J. Carter
                                                           Meredith J. Carter
                                                           Georgia Bar No. 325422




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